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 1
 2                              UNITED STATES DISTRICT COURT
 3                          FOR THE NORTHERN DISTRICT OF TEXAS
 4                                         DALLAS DIVISION
 5
     Michael Cheatham,                     §
 6
                                           §
 7   Plaintiff,                            §                 CIVIL ACTION NO. 3:12-cv-2548
                                           §
 8           vs.
                                           §
 9   DEPUY ORTHOPAEDICS, INC.;             §
10   JOHNSON & JOHNSON SERVICES, INC.; §
                                           §                 JURY TRIAL DEMANDED
     and DOES 1-10, inclusive,
11                                         §
     Defendants.                           §
12
                                           §
13   _____________________________________ §

14
15                                      COMPLAINT FOR DAMAGES

16          Plaintiff Michael Cheatham (“Plaintiff”), alleges on information and belief against

17   DEPUY ORTHOPAEDICS, INC., JOHNSON & JOHNSON SERVICES, INC., and DOES 1-

18   10, INCLUSIVE, (“Defendants”), the following:

19
20                                                I.

21                        INTRODUCTION AND SUMMARY OF ACTION

22          1.      Defendants manufactured the Pinnacle Acetabular Cup System (“Pinnacle

23   Device”), and launched it in 2001. The Pinnacle Device was designed, developed, and sold for

24   human hip joints damaged or diseased due to fracture, osteoarthritis, rheumatoid arthritis, and

25   avascular necrosis. The Pinnacle Device is designed to be fastened to human bone with surgical

26   screws. The Pinnacle Device was designed and sold to provide pain relief and consistent and

27   smooth range of motion. Defendants marketed the Pinnacle Device as having significant

28   advantages over other hip devices and hip replacement systems. Defendants marketed and


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 1   described the Pinnacle Device as “[u]niquely designed to meet the demands of active patients
 2   like you –and help reduce pain” and advertised it with pictures of a young woman trying on
 3   sneakers in an athletic shoe store. Defendants advertised the Pinnacle Device as a superior
 4   device featuring TrueGlide technology, allowing the body to create a thin film of lubrication
 5   between surfaces, which enables “a more fluid range of natural motion.”
 6          2.      Defendants also advertised and sold the Pinnacle Device as the best surgical
 7   option that “[r]ecreates the natural ball-and-socket joint of your hip, increasing stability and
 8   range of motion.”
 9          3.      On information and belief Plaintiff alleges that Defendants sold approximately
10   150,000 Pinnacle Devices. Defendants have stated in promotional materials that “99.9% of
11   Pinnacle Hip components are still in use today.”
12          4.      On information and belief, Plaintiff alleges that over 1,300 adverse reports have
13   been submitted to the U.S. Food and Drug Administration (FDA) regarding failures or
14   complications of the Pinnacle Device.
15          5.      On information and belief, Plaintiff alleges that Defendants are aware that the use
16   of the Pinnacle Device may result in metallosis, biologic toxicity, and a high failure rate.
17   Plaintiff further alleges that use of the Pinnacle Device results in unsafe release of toxic metal
18   ions into hip implant recipients’ tissue and bloodstream. Plaintiff further alleges that Defendants
19   are aware that metal particles from the Pinnacle Device results in metallosis, tissue death, bone
20   erosion, and development of tumors.
21          6.      On information and belief, Plaintiff alleges that particulate debris from the
22   Pinnacle Device causes severe inflammation, severe pain, tissue and bone loss, and other related
23   diseases.
24          7.      Plaintiff further alleges that Defendants are aware that certain Pinnacle Device
25   recipients have elevated cobalt and chromium levels greatly exceeding acceptable safety
26   standards.
27
28


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 1
 2                                                      II.
 3                                                 PARTIES
 4           8.       Plaintiff Michael Cheatham is, and at all times relevant to this Complaint was, a
 5   resident of the city of Longmont, in the state of CO. On or about 9/20/2005, Plaintiff underwent
 6   a right total hip arthroplasty procedure.
 7           9.      Defendant DEPUY ORTHOPAEDICS, INC. is, and at all times relevant to this
 8   Complaint was, an Indiana Corporation with its principal place of business at 700 Orthopaedic
 9   Drive, Warsaw, Indiana 46581. Defendant DEPUY ORTHOPAEDICS, INC. is and was at all
10   times relevant herein doing business in and/or having directed its activities at Texas, and
11   specifically this judicial district.
12           10.     Defendant JOHNSON & JOHNSON SERVICES, INC. is, and at all times
13   relevant to this Complaint was, a New Jersey Corporation with its principal place of business at
14   One Johnson & Johnson Plaza, New Brunswick, New Jersey 08933. Defendant JOHNSON &
15   JOHNSON SERVICES, INC. is and was at all times relevant herein doing business in and/or
16   having directed its activities at Texas, and specifically this judicial district.
17           11.     Plaintiff is unaware of the true names and capacities, whether individual,
18   corporate, associate, or otherwise, of defendants DOES 1-10, inclusive, or any of them, and
19   therefore sues these Defendants, and each of them, by such fictitious names. Plaintiff will seek
20   leave of this Court to amend this complaint when the status and identities of these Defendants are
21   ascertained.
22           12.     At all times relevant herein, Defendants were the agents of each other, and in
23   doing the things alleged herein, each defendant was acting within the course and scope of its
24   agency and was subject to and under the supervision of its co-defendants.
25
26                                                   III.
27                                      JURISDICTION AND VENUE
28


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 1            13.    This Court has subject matter jurisdiction over the parties pursuant to 28 U.S.C. §
 2   1332(a) because Plaintiff and Defendants are citizens of different states and the amount in
 3   controversy exceeds $75,000.00, exclusive of interest and costs.
 4            14.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a) and (c).
 5
 6                                                   IV.
 7                                       FACTUAL ALLEGATIONS
 8            A.     The Pinnacle Device With An “Ultamet” Liner
 9            15.    The Pinnacle Device was developed for the purpose of reconstructing diseased
10   human hip joints from conditions such as osteoarthritis, rheumatoid arthritis, avascular necrosis
11   (AVN), fracture, and other degenerative conditions. The hip joint connects the thigh (femur)
12   bone of a patient’s leg to the patient’s pelvis. The hip joint is like a ball that fits in a socket.
13   The socket portion of the hip is called the acetabulum. The femoral head at the top of the femur
14   bone rotates within the curved surface of the acetabulum.
15            16.    The Pinnacle Device is made up of four components: the metal femoral stem
16   (most often made of a cobalt-chromium alloy) is inserted inside the femur bone, the metal
17   femoral head (or ball) connects to the top of the stem and then makes contact with a liner that is
18   attached to the interior portion of the metal acetabulum cup (socket). The acetabulum cup is
19   comprised of metal. Either a plastic, ceramic, or cobalt-chromium metal liner is then placed on
20   the inside of the acetabulum cup. The metal femoral head rotates within the plastic, ceramic, or
21   metal liner, depending on which liner the surgeon selects based on the patient’s needs. The
22   cobalt-chromium metal liner is branded by Defendants as the “Ultamet.” The Pinnacle Device
23   with an Ultamet liner is a “metal-on-metal” device due to the fact that both articulating surfaces
24   – the femoral head (ball) and acetabulum liner (socket) – are comprised of cobalt-chromium
25   metal.
26            B.     Defendants Did Not Seek Premarket Approval From The FDA, And Thus
27                   The FDA Makes No Finding That The Pinnacle Device Is Safe Or Effective
28


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 1          17.     The Pinnacle Device is a Class III medical device. Class III devices are those
 2   that operate to sustain human life, are of substantial importance in preventing impairment of
 3   human health, or pose potentially unreasonable risks to patients.
 4          18.     The Medical Device Amendments to the Food, Drug, and Cosmetics Act of 1938
 5   (“MDA”), in theory, require Class III medical devices, including the Pinnacle Device, to
 6   undergo premarket approval by the FDA, a process which obligates the manufacturer to design
 7   and implement a clinical investigation and to submit the results of that investigation to the FDA.
 8          19.     Premarket approval is a rigorous process that requires a manufacturer to submit
 9   what is typically a multivolume application that includes, among other things, full reports of all
10   studies and investigations of the device’s safety and effectiveness that have been published or
11   should reasonably be known to the applicant; a full statement of the device’s components,
12   ingredients, and properties and of the principle or principles of operation; a full description of
13   the methods used in, and the facilities and controls used for, the manufacture, processing, and,
14   when relevant, packing and installation of, such device; samples or device components required
15   by the FDA; and a specimen of the proposed labeling.
16          20.     The FDA may grant premarket approval only if it finds that there is reasonable
17   assurance that the medical device is safe and effective and must weigh any probable benefit to
18   health from the use of the device against any probable risk of injury or illness from such use.
19          21.     A medical device on the market prior to the effective date of the MDA – a so-
20   called “grandfathered” device – was not required to undergo premarket approval. In addition, a
21   medical device marketed after the MDA’s effective date may bypass the rigorous premarket
22   approval process if the device is “substantially equivalent” to a “grandfathered” pre-MDA
23   device (i.e., a device approved prior to May 28, 1976). This exception to premarket approval is
24   known as the “510(k)” process and simply requires the manufacturer to notify the FDA under
25   section 510(k) of the MDA of its intent to market a device at least 90 days prior to the device’s
26   introduction on the market, and to explain the device’s substantial equivalence to a pre-MDA
27   predicate device. The FDA may then approve the new device for sale in the United States.
28


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 1          22.     Rather than being approved for use by the FDA pursuant to the rigorous
 2   premarket approval process, the Pinnacle Device metal-on-metal total hip replacement system
 3   was certified to be sold on the basis of Defendants’ claim that, under section 510(k) of the
 4   MDA, it was “substantially equivalent” to another older metal-on-metal hip implant device that
 5   Defendants sold and implanted prior to the enactment of the MDA in 1976.
 6          23.     As such, under the 510(k) process, Defendants were able to market the Pinnacle
 7   Device with virtually no clinical or non-clinical trials or FDA review of the implant for safety
 8   and effectiveness.
 9          C.      Defendants Took No Steps To Test The Pinnacle Device Or They Would
10                  Have Discovered That It Leads To Metallosis And Other Complications
11                  Before Releasing It On The Market
12          24.     Had Defendants conducted clinical trials of the Pinnacle Device before it was
13   first released on the market in the early 2000’s, they would have discovered at that time what
14   they ultimately learned in and around 2007 – that the Pinnacle Device results in a high
15   percentage of patients developing metallosis, biologic toxicity and an early and high failure rate
16   due to the release of metal particles in the patient’s surrounding tissue when the cobalt-
17   chromium metal formal head rotates within the cobalt-chromium metal acetabular liner.
18          25.     In other words, implantation of the Pinnacle Device results in the nearly
19   immediate systemic release of high levels of toxic metal cobalt-chromium ions into every hip
20   implant patient’s tissue and bloodstream. This is because cobalt-chromium metal particles are
21   released by friction from the metal femoral head rotating within the metal liner. The particles
22   than accumulate in the patient’s tissue surrounding the implant giving rise to metallosis,
23   pseudotumors, or other conditions.
24          26.     The formation of metallosis, pseudotumors, and infection and inflammation
25   causes severe pain and discomfort, death of surrounding tissue and bone loss, and a lack of
26   mobility.
27          27.     The problems with the Pinnacle Device are similar to the issues that gave rise to
28   Defendants’ recall of the ASR XL Acetabular System and ASR Hip Resurfacing System. Like


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 1   the Pinnacle Device, the ASR is also prone to early failure, and causes metallosis and cobalt
 2   toxicity resulting in serious health problems and the need for subsequent revision surgery. As a
 3   result, in August 2010, Defendants, in acknowledging the high failure rate of the ASR, recalled
 4   more than 93,000 ASRs worldwide. It is anticipated that Defendants will at some point recall
 5   Pinnacle Devices for the same reasons.
 6          28.     On information and belief, Plaintiff alleges that the FDA has received more than
 7   1,300 adverse reports regarding problems associated with or attributed to the Pinnacle Device.
 8          29.     On information and belief, Plaintiff alleges that many recipients of the Pinnacle
 9   Device are suffering from elevated levels of chromium and cobalt. Plaintiff further alleges on
10   information and belief that Defendants are aware that certain recipients of the Pinnacle Device
11   have significantly elevated levels of chromium and cobalt in amounts many times higher than
12   acceptable or recommended safety levels. Notably, the ASR and the Pinnacle Device were
13   designed by the same orthopaedic surgeon, Dr. Thomas Schmalzried.
14          30.     A number of governmental regulatory agencies have recognized the problems
15   that are caused by metal-on-metal implants such as the ASR and Pinnacle Device. For instance,
16   The Medicines and Healthcare Products Regulatory Agency (“MHRA”) in Britain investigated
17   Defendants’ metal-on-metal total hip replacement system after receiving widespread reports of
18   soft tissue reactions and tumor growth in thousands of patients who had received these implants.
19   MHRA has required physicians to establish a system to closely monitor patients known to have
20   metal-on-metal hips by monitoring the cobalt and chromium ion levels in their blood and to
21   evaluate them for related soft tissue reactions.
22          31.     Similarly, the Alaska Department of Health recently issued a bulletin warning of
23   the toxicity of Defendants’ metal-on-metal total hip replacement systems. The State of Alaska,
24   like the MHRA, identified the need for close medical monitoring, surveillance and treatment of
25   all patients who had received these and similar metal-on-metal implants.
26          32.     Despite the public knowledge to the contrary, Defendants’ continue to
27   misrepresent the Pinnacle Device as a high-quality, safe and effective hip replacement product
28


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 1   in their marketing and promotional materials. This is despite the fact that Defendants have
 2   known for years that the Pinnacle Device poses a danger to patients that have it implanted.
 3           33.     As a result, Defendants continue to sell the Pinnacle Device to doctors who
 4   implant them in countless numbers of patients with an unreasonably high percentage of those
 5   patients being forced to endure serious injury from metallosis, pseudotumors, and biologic
 6   toxicity, among other complications. These patients are reporting severe pain and discomfort
 7   and the need for one or more complicated revision surgeries resulting in life-long health
 8   problems caused by the defective device.
 9           D.      Plaintiff Was Implanted With A Pinnacle Device And As A Result Has
10                   Suffered Severe Injuries
11           34.     On or about 9/20/2005, Plaintiff underwent a right total hip arthroplasty
12   procedure. A Pinnacle Device with an Ultamet liner was implanted in place of his right hip.
13           35.     After the surgery, friction and wear between the cobalt-chromium metal head
14   and cobalt-chromium metal liner caused large amounts of toxic cobalt-chromium metal ions and
15   particles to be released into Plaintiff’s blood and tissue and bone surrounding the implant. As a
16   result, Plaintiff has been experiencing severe pain and discomfort and inflammation in his right
17   thigh and groin. Plaintiff also experiences a popping and snapping sensation in his hip-joint
18   when walking or moving to and from a sitting position.
19           36.     Due to Plaintiff’s chronic pain and discomfort and other symptoms, Plaintiff will
20   likely need to undergo revision surgery to replace the implant.
21           37.     All of the injuries and complications suffered by Plaintiff were caused by the
22   defective design, warnings, construction and unreasonably dangerous character of the Pinnacle
23   Device that was implanted in Plaintiff. Had Defendants not concealed the known defects, the
24   early failure rate, the known complications and the unreasonable risks associated with the use of
25   the Pinnacle Device, Plaintiff would not have consented to the Pinnacle Device being used in
26   his total hip arthroplasty.
27           38.     Plaintiff was unaware of any causal link between the injuries he has suffered and
28   any wrongdoing on the part of Defendants due to the faulty and defective nature of the Pinnacle


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 1   Device, due in part to the failures of Defendants to properly warn Plaintiff and his physicians
 2   about the Pinnacle Device’s defective and faulty nature. In and around late fall, 2010, Plaintiff
 3   first became aware of said causal link when he became aware of the recall of the ASR by
 4   watching the nightly news on television and realized that the issues he had had with his Pinnacle
 5   Device were eerily similar to that which was being reported regarding the ASR. Plaintiff was
 6   unable to make an earlier discovery of said causal link despite reasonable diligence because of
 7   Defendants’ failure to properly warn Plaintiff and his physicians about the Pinnacle Device’s
 8   defective and faulty nature, and their failure to issue any recall or take any other proactive
 9   action to date with respect to the injuries being caused to patients that have been implanted with
10   a Pinnacle Device.
11
12                                             CAUSES OF ACTION
13                                          FIRST CAUSE OF ACTION
14                                                 NEGLIGENCE
15                                           (Against All Defendants)
16          39.     Plaintiff incorporates by reference, as if fully set forth herein, each and every
17   allegation set forth in the preceding paragraphs and further allege as follows:
18          40.     Defendants had a duty to exercise reasonable care in the designing, researching,
19   manufacturing, marketing, supplying, promoting, sale, testing, quality assurance, quality
20   control, and/or distribution of the Pinnacle Device into the stream of commerce, including a
21   duty to assure that the device would not cause those who had it surgically implanted to suffer
22   adverse harmful effects from it.
23          41.     Defendants failed to exercise reasonable care in the designing, researching,
24   manufacturing, marketing, supplying, promoting, sale, testing, quality assurance, quality
25   control, and/or distribution of the Pinnacle Device into interstate commerce in that Defendants
26   knew or should have known that those individuals that had the device surgically implanted were
27   at risk for suffering harmful effects from it including but not limited to partial or complete loss
28   of mobility, loss of range of motion, as well as other severe and personal injuries which are

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 1   permanent and lasting in nature, physical pain and mental anguish, including diminished
 2   enjoyment of life, as well as the need for a revision surgery to replace the device with the
 3   attendant risks of complications and death from such further surgery.
 4          42.     The negligence of Defendants, their agents, servants, and/or employees, included
 5   but was not limited to the following acts and/or omissions:
 6                  a.      Negligently designing the Pinnacle Device in a manner which was
 7   dangerous to those individuals who had the device surgically implanted;
 8                  b.      Designing, manufacturing, producing, creating, and/or promoting the
 9   Pinnacle Device without adequately, sufficiently, or thoroughly testing it;
10                  c.      Not conducting sufficient testing programs to determine whether or not the
11
     aforesaid Pinnacle Device was safe for use;
12
                    d.      Defendants herein knew or should have known that Pinnacle Device was
13
     unsafe and unfit for use by reason of the dangers to its users;
14
                    e.      Selling the Pinnacle Device without making proper and sufficient tests to
15
     determine the dangers to its users;
16
                    f.      Negligently failing to adequately and correctly warn Plaintiff or their
17
     physicians, hospitals and/or healthcare providers of the dangers of Pinnacle Device;
18
                    g.      Negligently failing to recall their dangerous and defective Pinnacle Device
19
20   at the earliest date that it became known that the device was, in fact, dangerous and defective;

21                  h.      Failing to provide adequate instructions regarding safety precautions to be

22   observed by surgeons who would reasonably and foreseeably come into contact with, and more

23   particularly, implant the Pinnacle Device into their patients;

24                  i.      Negligently advertising and recommending the use of the Pinnacle Device
25   despite the fact that Defendants knew or should have known of its dangerous propensities;
26                  j.      Negligently representing that the Pinnacle Device offered was safe for use
27   for its intended purpose, when, in fact, it was unsafe;
28


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 1                  k.      Negligently manufacturing the Pinnacle Device in a manner which was
 2   dangerous to those individuals who had it implanted;
 3                  l.      Negligently producing the Pinnacle Device in a manner which was
 4   dangerous to those individuals who had it implanted;
 5                  m.      Negligently assembling the Pinnacle Device in a manner which was
 6
     dangerous to those individuals who had it implanted;
 7
                    n.      Defendants under-reported, underestimated and downplayed the serious
 8
     danger of the Pinnacle Device.
 9
             43.    Defendants were negligent in the designing, researching, supplying,
10
     manufacturing, promoting, packaging, distributing, testing, advertising, warning, marketing and
11
     sale of the Pinnacle Device in that they:
12
                    a.      Failed to use due care in designing and manufacturing the Pinnacle Device
13
     so as to avoid the aforementioned risks to individuals that had the devices surgically implanted;
14
                    b.      Failed to accompany their product with proper warnings;
15
                    c.      Failed to accompany their product with proper instructions for use;
16
                    d.      Failed to conduct adequate testing, including pre-clinical and clinical
17
     testing and post-marketing surveillance to determine the safety of the Pinnacle Device; and
18
                    e.      Were otherwise careless and/or negligent.
19
             44.    Despite the fact that Defendants knew or should have known that the Pinnacle
20
     Device caused harm to individuals that had the device surgically implanted, Defendants
21
     continued to market, manufacture, distribute and/or sell the Pinnacle Device.
22
             45.    Defendants knew or should have known that consumers such as Plaintiff would
23
     suffer foreseeable injury, and/or be at increased risk of suffering injury as a result of
24
     Defendants’ failure to exercise ordinary care, as set forth above.
25
             46.    Defendants’ negligence was the proximate cause of Plaintiff’s physical, mental
26
     and emotional injuries and harm, and economic loss which she has suffered and/or will continue
27
     to suffer.
28


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 1           47.     By reason of the foregoing, Plaintiff experienced and/or will experience severe
 2   harmful effects including but not limited to partial or complete loss of mobility, loss of range of
 3   motion, as well as other severe and personal injuries which are permanent and lasting in nature,
 4   physical pain and mental anguish, including diminished enjoyment of life, as well as the need
 5   for a revision surgery to replace the device with the attendant risks of complications and death
 6   from such further surgery.
 7           48.     Further, as a result of the foregoing acts and omissions, Plaintiff suffered a loss
 8   of wages and will in the future suffer a diminished capacity to earn wages.
 9           49.     In performing the foregoing acts and omissions, Defendants acted despicably,
10   fraudulently, and with malice and oppression so as to justify an award of punitive and
11   exemplary damages.
12
13                                         SECOND CAUSE OF ACTION
14                    STRICT PRODUCTS LIABILITY (MANUFACTURING DEFECT)
15                                            (Against All Defendants)
16           50.     Plaintiff incorporates by reference, as if fully set forth herein, each and every
17   allegation set forth in the preceding paragraphs and further allege as follows:
18           51.     Defendants designed, manufactured, tested, marketed and distributed into the
19   stream of commerce the Pinnacle Device.
20           52.     The Pinnacle Device that was surgically implanted in Plaintiff was defective in
21   its manufacture when it left the hands of Defendants in that it deviated from product
22   specifications, posing a serious risk that it could fail early in patients therefore giving rise to
23   physical injury, pain and suffering, debilitation, and the need for a revision surgery to replace
24   the device with the attendant risks of complications and death from such further surgery.
25           53.     As a direct and proximate result of Defendants’ placement of the defective
26   Pinnacle Device into the stream of commerce, Plaintiff experienced and/or will experience
27   severe harmful effects including but not limited to partial or complete loss of mobility, loss of
28   range of motion, as well as other severe and personal injuries which are permanent and lasting


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 1   in nature, physical pain and mental anguish, including diminished enjoyment of life, as well as
 2   the need for a revision surgery to replace the device with the attendant risks of complications
 3   and death from such further surgery.
 4          54.     Further, as a result of the foregoing acts and omissions, Plaintiff suffered a loss
 5   of wages and will in the future suffer a diminished capacity to earn wages.
 6          55.     In performing the foregoing acts and omissions, Defendants acted despicably,
 7   fraudulently, and with malice and oppression so as to justify an award of punitive and
 8   exemplary damages.
 9
10                                          THIRD CAUSE OF ACTION
11                          STRICT PRODUCTS LIABILITY (DESIGN DEFECT)
12                                           (Against All Defendants)
13          56.     Plaintiff incorporates by reference, as if fully set forth herein, each and every
14   allegation set forth in the preceding paragraphs and further allege as follows:
15          57.     At all times herein mentioned, Defendants designed, researched, manufactured,
16   tested, advertised, promoted, marketed, sold, and/or distributed the Pinnacle Device as
17   hereinabove described that was surgically implanted in Plaintiff.
18          58.     At all times herein mentioned, the Pinnacle Device designed, researched,
19   manufactured, tested, advertised, promoted, marketed, sold and/or distributed by Defendants
20   was in an unsafe, defective, and inherently dangerous condition, which was dangerous to users
21   such as Plaintiff that had the device surgically implanted.
22          59.     At all times herein mentioned, the Pinnacle Device designed, researched,
23   manufactured, tested, advertised, promoted, marketed, sold and/or distributed by Defendants
24   was in an unsafe, defective, and inherently dangerous condition at the time it left Defendants’
25   possession.
26          60.     At all times herein mentioned, the Pinnacle Device was expected to and did
27   reach the usual consumers, handlers, and persons coming into contact with said product without
28


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 1   substantial change in the condition in which it was designed, produced, manufactured, sold,
 2   distributed, and marketed by Defendants.
 3             61.   At all times herein mentioned, the Pinnacle Device’s unsafe, defective, and
 4   inherently dangerous condition was a cause of injury to Plaintiff.
 5             62.   At all times herein mentioned, the Pinnacle Device failed to perform as safely as
 6   an ordinary consumer would expect when used in an intended or reasonably foreseeable
 7   manner.
 8             63.   Plaintiff’s injuries resulted from use of the Pinnacle Device that was both
 9   intended and reasonably foreseeable by Defendants.
10             64.   At all times herein mentioned, the Pinnacle Device posed a risk of danger
11   inherent in the design which outweighed the benefits of that design.
12             65.   At all times herein mentioned, the Pinnacle Device was defective and unsafe, and
13   Defendants knew or had reason to know that said product was defective and unsafe, especially
14   when used in the form and manner as provided by Defendants.
15             66.   Defendants knew, or should have known, that at all times herein mentioned that
16   the Pinnacle Device was in a defective condition, and was and is inherently dangerous and
17   unsafe.
18             67.   At the time of the implantation of the Pinnacle Device into Plaintiff, the
19   aforesaid product was being used for the purposes and in a manner normally intended, namely
20   for use as a hip replacement device.
21             68.   Defendants, with this knowledge, voluntarily designed their Pinnacle Device in a
22   dangerous condition for use by the public and, in particular, Plaintiff.
23             69.   Defendants had a duty to create a product that was not unreasonably dangerous
24   for its normal, intended use.
25             70.   Defendants designed, researched, manufactured, tested, advertised, promoted,
26   marketed, sold and distributed a defective product which, when used in its intended or
27   reasonably foreseeable manner, created an unreasonable risk to the health of consumers and to
28


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 1   Plaintiff, in particular, and Defendants are therefore strictly liable for the injuries sustained by
 2   Plaintiff.
 3           71.    As a direct and proximate result of Defendants’ placement of the defective
 4   Pinnacle Device into the stream of commerce, Plaintiff experienced and/or will experience
 5   severe harmful effects including but not limited to partial or complete loss of mobility, loss of
 6   range of motion, as well as other severe and personal injuries which are permanent and lasting
 7   in nature, physical pain and mental anguish, including diminished enjoyment of life, as well as
 8   the need for a revision surgery to replace the device with the attendant risks of complications
 9   and death from such further surgery.
10           72.    Further, as a result of the foregoing acts and omissions, Plaintiff suffered a loss
11   of wages and will in the future suffer a diminished capacity to earn wages.
12           73.    In performing the foregoing acts and omissions, Defendants acted despicably,
13   fraudulently, and with malice and oppression so as to justify an award of punitive and
14   exemplary damages.
15
16                                         FOURTH CAUSE OF ACTION
17                      STRICT PRODUCTS LIABILITY (INADEQUATE WARNING)
18                                            (Against All Defendants)
19           74.    Plaintiff incorporates by reference, as if fully set forth herein, each and every
20   allegation set forth in the preceding paragraphs and further allege as follows:
21           75.    Defendants designed, manufactured, tested, marketed and distributed into the
22   stream of commerce the Pinnacle Device.
23           76.    The Pinnacle Device placed into the stream of commerce by Defendants was
24   defective due to inadequate warning, because Defendants knew or should have known that the
25   Pinnacle Device could fail early in patients therefore give rise to physical injury, pain and
26   suffering, debilitation, and the need for a revision surgery to replace the device with the
27   attendant risks of complications and death from such further surgery, but failed to give
28   consumers adequate warning of such risks. Further, the Pinnacle Device placed into the stream


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 1   of commerce by Defendants was surgically implanted in a manner reasonably anticipated by
 2   Defendants.
 3          77.     As a direct and proximate result of Defendants’ placement of the defective
 4   Pinnacle Device into the stream of commerce, Plaintiff experienced and/or will experience
 5   severe harmful effects including but not limited to partial or complete loss of mobility, loss of
 6   range of motion, as well as other severe and personal injuries which are permanent and lasting
 7   in nature, physical pain and mental anguish, including diminished enjoyment of life, as well as
 8   the need for a revision surgery to replace the device with the attendant risks of complications
 9   and death from such further surgery.
10          78.     Further, as a result of the foregoing acts and omissions, Plaintiff suffered a loss
11   of wages and will in the future suffer a diminished capacity to earn wages.
12          79.     In performing the foregoing acts and omissions, Defendants acted despicably,
13   fraudulently, and with malice and oppression so as to justify an award of punitive and
14   exemplary damages.
15
16                                          FIFTH CAUSE OF ACTION
17                                   BREACH OF EXPRESS WARRANTY
18                                           (Against All Defendants)
19          80.     Plaintiff incorporates by reference, as if fully set forth herein, each and every
20   allegation set forth in the preceding paragraphs and further allege as follows:
21          81.     Defendants designed, manufactured, tested, marketed and distributed into the
22   stream of commerce the Pinnacle Device.
23          82.     Defendants expressly warranted that the Pinnacle Device was a safe and effective
24   hip replacement system.
25          83.     The Pinnacle Device placed into the stream of commerce by Defendants did not
26   conform to these express representations because they failed early thereby giving rise to
27   unnecessary physical injury, pain and suffering, debilitation, and the need for a revision surgery
28


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 1   to replace the device with the attendant risks of complications and death from such further
 2   surgery.
 3           84.    As a direct and proximate result of Defendants’ breach of express warranties
 4   regarding the safety and effectiveness of the Pinnacle Device, Plaintiff has suffered significant
 5   damages, including but not limited to physical injury, economic loss, pain and suffering, and the
 6   need for further surgery to replace the faulty device, and will continue to suffer such damages in
 7   the future.
 8           85.    In taking the actions and omissions that caused these damages, Defendants were
 9   guilty of malice, oppression and fraud, and Plaintiff is therefore entitled to recover punitive
10   damages.
11
12                                         SIXTH CAUSE OF ACTION
13                    BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
14                                           (Against All Defendants)
15           86.    Plaintiff incorporates by reference, as if fully set forth herein, each and every
16   allegation set forth in the preceding paragraphs and further allege as follows:
17           87.    Defendants designed, manufactured, tested, marketed and distributed into the
18   stream of commerce the Pinnacle Device.
19           88.    At the time Defendants designed, manufactured, tested, marketed and distributed
20   into the stream of commerce the Pinnacle Device, Defendants knew the use for which the
21   Pinnacle Device was intended, and impliedly warranted the Pinnacle Device to be of
22   merchantable quality and safe for such use.
23           89.    Plaintiff reasonably relied upon the skill and judgment of Defendants as to
24   whether the Pinnacle Device was of merchantable quality and safe for its intended use.
25           90.    Contrary to Defendants’ implied warranties, the Pinnacle Device was not of
26   merchantable quality or safe for its intended use, because the Pinnacle Device was unreasonably
27   dangerous as described above.
28


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 1           91.    As a direct and proximate result of Defendants’ breach of implied warranties
 2   regarding the safety and effectiveness of the Pinnacle Device, Plaintiff has suffered significant
 3   damages, including but not limited to physical injury, economic loss, pain and suffering, and the
 4   need for further surgery to replace the faulty device, and will continue to suffer such damages in
 5   the future.
 6           92.    In taking the actions and omissions that caused these damages, Defendants were
 7   guilty of malice, oppression and fraud, and Plaintiff is therefore entitled to recover punitive
 8   damages.
 9
10                                       SEVENTH CAUSE OF ACTION
11                                   NEGLIGENT MISREPRESENTATION
12                                           (Against All Defendants)
13           93.    Plaintiff incorporates by reference, as if fully set forth herein, each and every
14   allegation set forth in the preceding paragraphs and further allege as follows:
15           94.    The Defendants supplied false information to the public, to Plaintiff and to his
16   physicians regarding the high-quality, safety and effectiveness of the Pinnacle Device.
17   Defendants provided this false information to induce the public, Plaintiff and his physicians to
18   purchase and implant a Pinnacle Device.
19           95.    The Defendants knew or should have known that the information they supplied
20   regarding the purported high-quality, safety and effectiveness of the implant to induce Plaintiff
21   and his physicians to purchase and use a Pinnacle Device was false.
22           96.    The Defendants were negligent in obtaining or communicating false information
23   regarding the purported high-quality, safety and effectiveness of the Pinnacle Device.
24           97.    Plaintiff and his physicians relied on the false information supplied by the
25   Defendants to his detriment by causing the Pinnacle Device to be purchased and implanted in
26   Plaintiff.
27
28


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 1          98.     Plaintiff and his physicians were justified in their reliance on the false
 2   information supplied by the Defendants regarding the purported high-quality, safety and
 3   effectiveness of the Pinnacle Device.
 4          99.     As a direct and proximate result of Defendants’ negligent misrepresentations,
 5   Plaintiff has suffered significant damages, including but not limited to permanent physical
 6   injury, economic loss, pain and suffering and the need revision surgery to repair the physical
 7   damage to Plaintiff caused by the Pinnacle Device.
 8                                        EIGHTH CAUSE OF ACTION
 9                                                     FRAUD
10                                           (Against All Defendants)
11          100.    Plaintiff incorporates by reference, as if fully set forth herein, each and every
12   allegation set forth in the preceding paragraphs and further allege as follows:
13          101.    Defendants made representations to Plaintiff and his physicians that their
14   Pinnacle Device is a high-quality, safe and effective hip replacement system.
15          102.    Before they marketed the Pinnacle Device that was implanted in Plaintiff,
16   Defendants knew or should have known of the unreasonable dangers and serious health risks
17   that such a metal-on-metal total hip replacement system posed to patients like Plaintiff.
18          103.    As specifically described in detail above, Defendants knew that the Pinnacle
19   Device subjected patients to early failure, painful and harmful physical reactions to toxic
20   metallic particles and ions, death of tissue, bone loss and the need for explants and revision
21   surgery.
22          104.    Defendants’ representations to Plaintiff and his physicians that their Pinnacle
23   Device is high-quality, safe and effective were false.
24          105.    Defendants concealed their knowledge of the unreasonable risks and dangers
25   associated with the use of the Pinnacle Device to induce Plaintiff and many thousands of others
26   to purchase the system for surgical implantation in their bodies.
27          106.    Neither Plaintiff nor his physicians knew of the falsity of Defendants’ statements
28   regarding the Pinnacle Device.


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 1          107.    Plaintiff and his physicians relied upon and accepted as truthful Defendants’
 2   representations regarding the Pinnacle Device.
 3          108.    Plaintiff and his physicians had a right to rely on Defendants’ representations and
 4   in fact did rely upon such representations. Had Plaintiff known that the Pinnacle Device would
 5   fail early and expose her to the unreasonable risk of toxic metals, metallosis, and multiple
 6   revision surgeries his would not have purchased or allowed the Pinnacle Device to have been
 7   surgically implanted in Plaintiff.
 8          109.    As a direct and proximate result of Defendants’ fraudulent representations,
 9   Plaintiff has suffered significant damages, including but not limited to permanent physical
10   injury, economic loss, pain and suffering and the need for multiple surgeries to repair the
11   physical damage to Plaintiff caused by the Pinnacle Device.
12
13                                           PRAYER FOR RELIEF
14                  WHEREFORE, Plaintiff prays for the following relief:
15          A.      Judgment in favor of Plaintiff and against all Defendants, for damages in such
16   amounts as may be proven at trial;
17
            B.      Compensation for both economic and non-economic losses, including but not
18
     limited to medical expenses, loss of earnings, disfigurement, pain and suffering, mental anguish
19
     and emotional distress, in such amounts as may be proven at trial;
20
            C.      Punitive and/or exemplary damages in such amounts as may be proven at trial;
21
            D.      Attorneys’ fees and costs;
22
            E.      Pre- and post-judgment interest; and
23
            F.      Any and all further relief, both legal and equitable, that the Court may deem just
24
     and proper.
25
26
27
     Dated: July 27, 2012
28


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 1
 2                                                   /s/ Franklin D. Azar         _______
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 3
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 8                                                    Franklin D. Azar & Associates, P.C.
 9                                                    14426 East Evans Ave
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11
12                                                   /s/ Kenneth Soh            _______
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14                                                    Kenneth S. Soh
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17                                                    Phone: (713) 659-5200
                                                      Fax: (713) 659-2204
18
19
20                                    JURY DEMAND
21     Plaintiff Michael Cheatham hereby demands a trial by jury.
22
23
                                                           /s/ Franklin D. Azar
24                                                          Franklin D. Azar
                                                            W. Mark Lanier
25
                                                            Tonya L. Melnichenko
26                                                          Robert O. Fischel
                                                            Nathan J. Axvig
27                                                          Kenneth S. Soh
28


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